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Office of the Attarney General of Texas
Election Fraud Violations
Prosecutions Resolved

| ceUAE legal veune Bled Guilty to count attempted Medal Voting 2.
Bee: Melva Kay Ponce Tileoal: Vating 2004 General Blectian Brose e Ot CRAB o o i O7/86/05 ECGs OE 2: ears eferred adjudication: ¢1 500 fing wy S500:
woler impersonation sronated

Vote Harvesting/Mail Ballot

Johnny Wayne Fraud/Assistance Fraud - 6 counts possession of Pled guilty to possession of official ballot or carrier
Hardeman y ¥ . 2004 Primary Election 013449 official ballot or carrier 6 11/04/05 EC 86.006 envelope of another. 2 years probation, $2000
Akers Possession of an official ballot .
by another envelope of another fine

Vote: Hatvestiria/ Mall: Ballot
cane Fraudsassistance Fraud i A COUPTS  BOSSASS LET at i
Nueces | PERRO? | Method or eturna marked | 0? Goce Be bce -bpob-4 pificlal ballot or carder 2/23/05 ec ee nos [veer We Wal diversion, 22 mantis community

: Election SUDEEVISIOR
ballotsuniawiulassistance: envelope af another: Mm

i SEES es
Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud - ot 1 count possessing an
Nueces | Elida Garza Flores} Method of returning marked | 720° school District 05-CR-9805-4 official ballot or carrier 1 03/22/06 EC 86.006
ballot, unlawful assistance, envelope of another

assisting voter

Vote: Hatvestiria/ Mall: Ballot :
: : Pled nolo contendere to? counts ot pasemesing att
isabel Lise Rios Pabcie sistance FeuG ZOOS OS CHOG! District # Couns Possessing ef official balloon carrer envelone olancthen: 1
Nueces: Metiod nf returcing marked : ORCR-O808-3 Oi cial balou Sr Cartier On12 2/05 EC 86.006 page e
Ganzelez : Election veer deferred adiudication, $500 fine t 2 months:
ballotsuniawiulassistance: Shvelope OF another : me
He SOTMMUnity subeiVIsION

i SEES es
Vote Harvesting/Mail Ballot Pled guilty to 1 count of illegally possesing an
Fraud/Assistance Fraud - oe .
official carrier envelope of another. 1 year

1 year pre-trial diversion, 12 months community
supervision

1 count illegally possessing

Josefina Marinas 2005 School District

Nueces i 05-CR-9807-1 an official carrier envelope 1 05/04/06 EC 86.006
Suarez Method of returning marked Election p /04/ deferred adjudication, $500 fine, 12 months
ballot, unlawful assistance, of another .
wot community supervision
assisting voter

Vote Harvesting/Mail Ballot S:COUntS Possessiat ot an Found guilty by JUNVOF A Counts of possession Gof
Reeves: ‘Tine Villalabos Fraud! “Method of returning |2004:Primary Election ‘Official ballet or official 06/27/06 FE 86 006) ‘an Official ballot or Official Cartier etivelope of
marked Ballot: carrier Savelope BFanother another: TO ave jal? probated forme months

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud -
Unlawfully obstructing watcher,
unlawfully witnessing
application for mare than one
application, unlawful
assistance, security of ballots,
ballot boxes and envelopes

Vote Haryesting/ Mail Ballet
Rraud/ Assistance fraud ©
UnIa Willy GBStruChne watcher 3
Onlawhily wathessing B caunks Possessing an
Bowie Jamillaticiohason See 2004 Pomary Election GEMOSOR CCE Official Galot or cartier 2 O72} 7/05 EC 86.005 ‘Se mcndis deferred adiudicaton, ¢200 fine
application for more than ane
REALL Shvelope OF another
application: unlawtal
eesistanice, Securitycar ballets,
ballot bakes and ehvelones:

Unlawfully obstructing watcher,
unlawfully witnessing .
application for more than one 7 counts possessing an
Bowie Melinda Hunter pp application, unlawful 2004 Primary Election 06M0301-CCL official ballot or carrier 7 07/17/06 EC 86.006 6 months pre-trial diversion
. PP envelope of another
assistance, security of ballots,
ballot boxes and envelopes
Vole Hearvesttig/ May Ballot : :
i 2 counts Hisgal voting:-(4) 3 :
: i F i 3 : 3 PI } i
Nueces | Marla Dora Flores | “auc! Mecietance Frau! Meal |oao6 primary Election 06-CR.2166.8 rmariang a ballot without 2 o8/o4/ne Ee ouoig lee culty ioe counts liege) venne) years
Noting Un laWi ascistance: VP e eRe ee deterred adi-prabation, $780 tine
UnTaWwEUIVnflueR cing: Vober
5

Pled guilty to possession of an official ballot or
official carrier envelape of another. 8 months
deferred adjudication, $200 fine. Original
indictment dismissed.

7 counts possessing an
2004 Primary Election 06M1309-CCL official ballot or carrier 7 07/17/06 Ec 86.006
envelope of another

Bowie Willie Howard Ray

Vote Harvesting/Mail Ballot 5 counts illegally
Reeves Anita Baeza Fraud - Method of returning {2004 Primary Election 25,186 possessing ballots for 08/28/06 EC 86.006 & months pre-trial diversion
marked ballot another person
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Office of the Attarney General of Texas
Election Fraud Violations
Prosecutions Resolved

False Statement on 1 Count - False Statement . . .
. oye aoe Prosecution Diversion Program - stipulation to the
Registration Application; on Application, 1 Count E.c. 13.007; a
. . . . . commission of 1 Count False Statement on
Harris Aaron Sprecher Tampering with Government Voter Registration CX8794422517 Tampering with a 3 8/20/2020 PC, 37.10; «an . .
Application; 1 Count Tampering with a
Record; Election Fraud - False Government Record, E.C. 276.013 Government Record: 1 Count Election Fraud
Registration Address 1 Count Election Fraud ’
Eales Statement on i Counts False Statement i Ss i :
: : See SORE : Prosecution: Diversion: Program: = stipulation: to the
Registration Apnieation: on Applicaton, Vmount Exe o7; Fe ee
Harris: SuSte: Thomas: JTampering with Government Voter Registration CROTORA 22S 1 TarApering: wath: 8 3 Sila se2020: Rees LO: : :
: Application: 2 Count Tampering with @
Recore: Blaction Prauee= False Governrnieht Record, EGE 276043:
: ! ‘ Government Records 1 Gaunt Election Fraud
Registration Address i Count Election trac
False Statement on 1 Count - False Statement . . .
. age ge Prosecution Diversion Program - stipulation to the
Registration Application; on Application, 1 Count E.C. 13.007; commission of 1 Count False Statement on
Harris Name Removed Tampering with Government Voter Registration Tampering with a 3 8/21/2020 P.c. 37.10; ce
Application; 1 Count Tampering with a
Record; Election Fraud - False Government Record, E.c. 276.013 Government Record: 1 Count Election Fraud
Registration Address 1 Count Election Fraud ’
False Statement on ICOUnE False Statement: : :
: See eee eee : Prosecution: Diversian: Program = sttnulation:to the
3 AUER Regltranion Applicaien: oe Apbhcaten. E Eeune Be tee commission of U Count Palss Staterment an
Harris: : TTarnipering: with Government Voter Registration CXS TIARAS LF: TaripSring: WAL & oe OF 2/ 2020 Peer £Oe See a :
ainmecman Record; Heacton Frauds False Government Record EC. 276.013 pplication 1 Caune Tampering Wt 8
2: 2 Oe Government: Record: (Count lection: Fraud:
Revistration ‘Address: Ecount Blection:Fraud
False Statement on 1 Count - False Statement Prosecution Diversion Program - stipulation to the
Registration Application; Illegal on Application, 2 Counts E.c. 13.007; oe 9 P
Antonia Voting; Tampering with 2018 General Illegal Voting, 1 Count E.C, 64.012; commission of 1 Count False Statement on
Harris 97 Fampering WIN Election; 2019 CX8794422517 9 nO, 5 8/21/2020 Meese: Tl anplication; 2 Counts Illegal Voting; 1 Count
McClammy Government Record; Election Special Election Tampering with a PC, 37.10; Tampering with a Government Record: 1 Count
Fraud - False Registration By Government Record, E.c. 276.013 Bs 9 ’
Election Fraud
Address 1 Count Election Fraud

[eee Statement on 1 Gaunt | fe se Sinterient Prosecution Diversion Program - stipulation to the
Reoistrstian Application) TleGel on Appliaton;, ToCount ECs 007; ISION OF ; P

3 Venno: craninering with Tegal Vating st Gaunt EB CoGA OLE: eorimission ef | Count False etatemen on

Parcs COI Chaz : i 2018 General Election CXS PHAAR DS LE Se 4 SP AO12020 t Application: at oCount Megal Voting: AoCount
Government Raccrd: Rlection Pampering with a BCS 7 : :

: Tampering: with a Goverment Recordit Count
Fraud > False Registration Government Record, EC: 2762013 :
Election Fraud
Address tCounkBlaction Fraud

set . . . Prosecution Diversion Program - stipulation to the
Medina A. Hitzfelder Unlawfully Assisting Voters with) 2020 Presidential CX8093477769 10 Counts Unlawfully 10 05/19/21 E.c. 84.003 commission of 10 Counts Unlawfully Assisting
Mail Ballot Applications Election Assisting Applicant Applicant

Falée Statement 66 4 Count L Pelee Sretemert Prosecution Diversion: Program: Stipulation tcths:
: HesHod: ' on Appliaton;, ToCount ECore 00k: oe f i
Christopher Registration Application: aise illegal Veting, 4 Gaunt EG 64 Oe: OOMMIssiOn o} JOo uA False: Statement On
Lubbock: MOUnG Ec aniperinig with 2018 General Blection CXS7GASESBAS: rs 4: O9/O2/21 ; re Application: 1 Sount Hegel Votngs t Count
Donayre i Tamiperiig With 3 BCS 7 : :
Government Record: Blection Saripering with a-Gavermment Record: tscount
Government Record, EC 276 O48 :
Fraud : Election Fraud
J Count Blection Fraud
2 Counts - Illegal Voting, 1
Ilegal Voting; Election Fraud; Count - Election Fraud, 1 E.c. 13.007: Prosecution Diversion Program - stipulation to the
False Statement on 2018 General Count - False Statement EC 64.012. commission of 1 Count False Statement on
Guadalupe | Gregory Gilcrease Registration Application; Election; 2020 CX3419210173 on Registration 5 10/28/21 > C 37 10: Application; 2 Counts Illegal Voting; 1 Count
Tampering with a Government General Election Application, 1 Count a Tampering with a Government Record; 1 Count
- E.C. 276.013
Record Tampering with a Election Fraud
Government Record

1 ROUHIOF Pagaging in

Organized Bection Fraud
(F2), 7 counts of

Fraudulant Use ‘ofan

es. ee EG be OL: COBVICtES ORE Cn 7 6:01 Election: Fraud. and
ereau: ‘Shannon Everette Organized Election Fraud = Voters 2018 Demmocrane BooS3-8 Uinlawbul Poacescon OF 38 Lpapoee 84 Goal, Be HOE: sentenced fot ye County 33th probated for ye
Brown Harvesting Pritaary: and: $ 2-000 fine. Pubic apology required as:

Ballot /Ballotbrivelope 276.04 SiC ae AO. EO ACIRIGH GE Blas Haat
(SIF), 8 counts of Election P :
Fraud (SIF), and § counts

CEFampbering: with: 6
Governmental Record
(Si)

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Office of the Attarney General of Texas
Election Fraud Violations
Prosecutions Resolved

1 count of Engaging in
Organized Election Fraud
(F1), 1 count of Illegal
Voting (F2), 31 counts of
Fraudulent Use of an

Application for Ballot by E.c. 276.011; Convicted of E.C. 276.013 Election Fraud, and
Marlena Roseanne |Organized Election Fraud - Vote! 2018 Democratic Mail (F3), 7 counts of 64.012; 84.0041; |sentenced to 1 yr county jail, probated for 1 yr.
‘ . , ; ; ,
Gregg Jackson Harvesting Primary 50949-B Unlawful Possession of 97 1/20/2022 86.006; 276.013; |and $2,000 fine. Public apology required as
Ballot/Ballot Envelope PC 37.10 condition of plea deal.

(SIF), 31 counts of
Election Fraud (SIF), and
26 counts of Tampering

with a Governmental
__ Record (S3F)
ty oO aa

Organized Bection Fraud
Code) Caunb of Fraudulent
Se of aH Application! for
Ballot by Mail (S16), 5 : : :
Organiged ElSHOn Fraud | Vote: 2048 Damar atic COUntS af Untawhal BG A/G BLE) Converted of Ee Be.006 Lalani Fessessicn of

DUSS TAB

Charis Borne: IF: : Lo 7P2082 $4 O04 LOG ONG el Ballat with Titentto Detraid. Sentenced te tyr
Harvesting Primary: Passeecian GES

27B OL APCS? UD Feaunty ail, probated tort ye:

Ballot /Ballotbrivelope
CRY and | couniof
Tampenii with a
Gaverhmental Record

Oey,

1 count Engaging in
Organized Election Fraud
(FL), 1 count of Uniawful

Possession of Ballot or

: . . , . . Convicted of E.C. 86.006 Unlawful Possession of
Gregg® DeWayne Ward Organized Election Fraud - Vote) 2018 Democratic 50947-B Carrier Envelope without 6 1/31/2022 Ee, 276.011; Ballot with Intent to Defraud. Sentenced to 1 yr
Harvesting Primary the Consent of the Voter 86.006 county jail, probated for 1 yr
(F2), and 4 counts y Ja, PI yr

Uniawful Possession of
Ballot/Ballot Envelope
(SIF)

illegal Voting eee CR -2L-ocondd7 1 count legal Vating (F2) 3/8/2028 EC 64.012) oe Diversion Frogtam | f caunt Tegal

1 count of Aggravated
Perjury, 1 count of

Tampering with Government 2017 City of Cibolo Pled Guilty to 1 count Aggravated Perjury (F3)

Guadalupe Stan "Stosh" Record - Application for Election; 19-2108-CR-C; Tampering w/Government 3 4/12/2022 P.C. 37.03; and 1 count Tampering with a Government Record
PB Boyle Candidacy - Felony 2019 City of Cibolo CCL-19-0809 P.Cc. 37.10 with Intent to Defraud (SJF). Placed on 4-year
oe ee . | Defraud, 1 count of fa
Conviction/Ineligible for Office Election . deferred adjudication probation.
Tampering with a
Gavernmant Racard
Total Counts/ Offenses
691
Prosecuted
Mail Ballot Fraud 444 64% Note: significant overlap in fraud activity invalving (two or more of)
Number of offenses related Assistance Fraud 169 24% mail ballot fraud, assistance fraud, and illegal voting in the same case
to cases involving: Tegal Voting 189 27% may result in totals > 100%.
2015-present 429

* County offense occurred/County offense prosecuted. | ° Far camplete information on disposition, see judgment and sentence. Prosecution Diversion Program includes an acknowledgment of the commission of offense/s.

© Prasecuted by or with assistance of local district/county attorney. | 4 Cause number, where available; otherwise, OAG investigation ar prosecution case number.

This doc tis nota 'y of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, or federal authorities. This document
only reflects cases investigated and/or prosecuted by the OAG.

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Office of the Attorney General of Texas
Election Fraud Violations

Prosecutions Pending

Jefferson/
Chambers

Hidalgo

Hidalgo

Tarrant

Jatrant

Ray Elliott Beck

Marcela Gutierrez

Sylvia: Arjona

Leticia Sanchez Tepichin

Laura Parra

Bribery, unlawfully accepting a cash
contribution

Uniawfully assisting/influencing
voters: legal voting

Unlawfully: assisting/influencing
voters

iB Shi
False Statement on Mail Ballot

Application; Vote Harvesting/Mail
Ballot Fraud

False Statement on Mail Ballot
Application; Vote Harvesting/Mail
Ballot Fraud

2016 General Election

2016 City of Hidalgo
Runoff Election

2016 City of Hidalgo
Runoff Election

2016 Democratic Primary.
Election

2016: Democratic Primary
Election

18DCRO153

“TS-08208-G?
CR-18-08299-G:
CR=18-08300-G;
€R-18-08301-G;
CR-18-08302-G;
CR=18-08303-G;
CR-18-08304-G:
€R-18-08305-G:
€R-18-08305-G;

CR-18-08167-H;
CR-18-08168-H;
CR-18-08169-H;
CR-18-08295-H

1565415

1565155

Count 1- unlawfully accepting a
cash contribution:
Count-2 - failure to-returmm-e

Misdemeanor cases 1-10 -
Unlawfully Assisting/influencing
Voters:

Felony count 1-Ilegal: Voting

Counts: 1-4 = unlawfully
assisting/influencing voters

Counts 1-9 = False Statementon
Mail-Ballot Application

Counts 1 - False Statement on Mail
Ballot Application

11

4/26/2018

6/1/2018

5/31/2018

10/10/2018

10/10/2018

E.C. 253.033;
254.034

E.C. 64,036; 64.012

E.C, 64.036

E.C. 84.0041

E.C, 84.0041

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Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Pending

Harris®

Hidalgo”

Hidalgo®

Hidalga’

Hidalgo™

Anthony Radriguez

Dalia Molina

Araceli-Gutierrez

Belinda Rodriguez

Crystal Lee Ponce

Election Fraud - False Statement to
Election Official

Organized Election Fraud - IHegal
Vating

Organized Election Fraud = Tegal
Voting

Ilegal Voting

Hlegal Voting

2018 General Election

2017 City of Edinburg
Flection

201 7-City of Edinburg
Election

2017 City of Edinburg
Election

2017 City of Edinburg
Election

1629438

CR-2057-19-A

CR-3349-19-A

CR-3343-19-A

CR-3341-19-A

Counts 1-2: Election Fraud

Count 1 - Engaging in Organized
Election Fraud
Counts 2-3 - Hlegal Voting

Count 1 = Engaging in Organized
Election Fraud
Count 2 Hlegab Voting

Illegal Voting

Hlegal Voting

Information as of 4/20/2022

4/26/2019

6/6/2019

8/22/2019

8/22/2019

8/22/2019

E.C. 276.013

E.C. 276.011;
E.C. 64.012

E.C. 276.011;
E.C. 64.012

E.C. 64.012

E.C. 64,012

17

STATE087336
Hidalgo®
Hidatga’
Hidalgo®

Hidalgo®
Hidatga’
Hidalgo®

Limestone®

Daniel Castillo

Francisco Tamez, Jr.

Jose: Martinez

Ludivina Leal

Rosendo Rodriguez

Veronica Vela Saenz

Kelly Reagan Brunner

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legal Voting

illegal Voting

Hilegal Voting

legal Voting

illegal Voting

Hilegal Voting

Voter Registration Fraud - Vote
Harvesting

Office of the Attorney General of Texas

Election Fraud Violations
Prosecutions Pending

2017 City of Edinburg

Election CR-3494-19-A

15126-A

2017 City of Edinburg
Election

2017 City of Edinburg
Election

2017 City of Edinburg
Flection

2017 City of Edinburg
Election

2017 City of Edinburg
Election

2020 Presidential Election

Hilegal Voting

Counts 1-2 - Hlegal Voting

Hlegal Vating

Hilegal Voting

Hlegal Voting

Hlegal Vating

67 counts Purportedly Acting as

Agent 3), 67 counts Election
Freud (SJF)

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134

8/29/2019

10/21/2020

E.C. 64.012

E.C. 13.006; 276.013

Information as of 4/20/2022

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Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Pending

count Engaging in Organize
Election: Fraud (F1): 2 counts
Hlegal Voting {F2); 8 counts of
Unlawful Possession of
2018 Republican Primary CR21-019 Ballot/Ballot Envelope Enhanced 2/9/2021
{SIF}; 2-counts Election-Fraud
Enhanced: (SJF); 5 counts
Fraudulent Use of Mail Ballot
Annlication: Enhanced: (F2%

EC. 276.011, EC.
64.012; E.C. 86.006:
E.C. 276.013; E.C.
84.0044

Medina/ : Organized Election Fraud = Vote
a Leonor Rivas Garza .
Bandera Harvesting

1 count Engaging in: Organized
Election: Fraud (F4):1 7-counts
Unlawful Possession of
2018 Republican Primary CR21-027 Ballot/Ballot Envelope Enhanced 2/9/2024
(SJF); 17 counts Unlawfully
Assisting Voter Voting Ballot by
Es)

Medina/ Tomas Ramires Organized Election Fraud - Vote
Bandera” Harvesting

EC, 276,011; Ec.
86.006; EC. 86.010

1 caunt legal Voting (F2).1 caunt
Unlawful Possession of Ballot w/ EG 64,012:
intent to defraud, victim over 65 EC. 86.006;
3/1/2021 EC 64.036:

Bexar/ Rachel “Raguel" Vote Harvesting, Assistance Fraud
Kendall’ Rodriguez Hlegal Voting, Election Fraud (SIF); 1 count Unlawful Assistance
(CEA); 1 count Election Fraud (Cl E.C. 276.013

j

* 12020 Presidential Election

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Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Pending

Ilegal Voting - Impersonation of 4
Harris/ U.S. Citizen, Document Fraud; ref'd
Montgomery”

Ignacio: Gonzalez Beltran Multiple Elections 21-06-08808 4-caunts Hlegal Voting -(F2) 6/24/2021 EC 64,012

by Diplomatic Security Services -
LS. State Dept.

Total Counts/ Offenses Pending

Prosecution 410
Number of offenses Mail Ballot Fraud 287 70%
related to cases Assistance Fraud 18 4%
involving: IHegal Voting 67 16%

® County offense occurred/County offense prosecuted. | Investigated by local law enforcement and referred to OAG for prosecution | ° Prosecuted by or with assistance of local district/county attorney.

This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, and federal
authorities. This document only reflects cases investigated and/or prosecuted by the OAG.

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